                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

H&R BLOCK EASTERN                             )
ENTERPRISES, INC.,                            )
HRB ROYALTY, INC.,                            )
H&R BLOCK ENTERPRISES, INC.                   )
AND H&R BLOCK AND ASSOC.,L.P.,                )
                                              )
                Plaintiffs,                   )
                                              )
vs.                                           )   Case No. 06-0039-CV-W-SOW
                                              )
INTUIT, INC.,                                 )
                                              )
                Defendant.                    )

                                              ORDER

         Before the Court are Intuit Inc.’s Motion to Stay, Dismiss, or Transfer Venue (Doc. # 5),

Plaintiffs’ Suggestions in Opposition to Defendant’s Motion to Stay, Dismiss, or Transfer Venue,

and Plaintiffs’ Motion for New Temporary Restraining Order and Request for Preliminary

Injunction (Doc. # 11). The parties have reached an agreement in this case. Accordingly, it is

hereby

         ORDERED that Intuit Inc.’s Motion to Stay, Dismiss, or Transfer Venue (Doc. # 5) and

Plaintiffs’ Motion for New Temporary Restraining Order and Request for Preliminary Injunction

(Doc. # 11) are dismissed as moot.




                                              /s/Scott O. Wright
                                              SCOTT O. WRIGHT
                                              Senior United States District Judge
Dated: 1-18-06




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